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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION

E.V. DRAKE,                           )
      Plaintiff,                      )
                                      )
v.                                    )
                                      )                          CIVIL ACTION: 1:20-00353-KD-N
GOVERNMENT EMPLOYEES INS. CO. et al., )
    Defendants.                       )

                                                 ORDER

       After due and proper consideration of all portions of this file deemed relevant to the issues raised,

and there having been no objections filed, the Report and Recommendation of the Magistrate Judge made

under 28 U.S.C. § 636(b)(1)(B)-(C) and dated September 25, 2020, is ADOPTED as the opinion of this

Court. Accordingly, it is ORDERED that this case is hereby TRANSFERRED, under 28 U.S.C. §

1404(a), to the U.S. District Court for the Northern District of Texas (Dallas Division).

       The Clerk of Court is DIRECTED to close this action after transfer is effectuated.

       DONE and ORDERED this the 19th day of October 2020.

                                              /s/ Kristi K. DuBose
                                              KRISTI K. DuBOSE
                                              CHIEF UNITED STATES DISTRICT JUDGE
